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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
ORIGINAL

UNITED STATES OF AMERICA

Case:2:18-cr-20255

Judge: Roberts, Victona A.

MJ: Whalen, R. Steven

Filed: 04-16-2018 At 11:48 AM
INFO USA VS TENAGLIA (DP)

VIOLATION: 18 U.S.C. § 1349
(Wire fraud conspiracy)

VS.

D-1 GARY TENAGLIA,

Defendant.

 

INFORMATION
The United States Attorney charges:
GENERAL ALLEGATIONS

At all times relevant to this Information, all of the following was true:
1. GARY TENAGLIA was the owner of Envision Engineering &

Maintenance, LLC (“Envision’’).

 

2. Between in or about May of 2011, through June of 2014, Envision had
contracts with the Wayne County Airport Authority (“‘WCAA”) to provide
maintenance for the Blue Deck parking structure at Detroit Metropolitan Airport.

3. Envision’s contract included, among other services, the removal of

snow and ice.
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4, On June 30, 2014, an internal audit of the bills paid by the WCAA
revealed that GARY TENAGLIA and Envision fraudulently charged the WCAA
for the application of approximately $1,500,000 worth of a deicing substance called
“NAAC,” that Envision did not, in fact, apply.

COUNT ONE
(18 U.S.C. § 1349- Wire Fraud Conspiracy)
D-1 GARY TENAGLIA

1, The general allegations are hereby realleged and incorporated by
reference in this count as if fully set forth herein.

2. Beginning in 2012, and continuing through 2014, in the Eastern District
of Michigan, Southern Division, the defendant, GARY TENAGLIA, along with at
least two other individuals, did unlawfully and knowingly conspire and agree with
each other and with other individuals to commit the crime of wire fraud, by
knowingly executing and attempting to execute a scheme to defraud and to obtain
money and property by means of false and fraudulent pretenses, representations and
promises.

3. On May 2, 2014, in executing the scheme to defraud, GARY
TENAGLIA transmitted and caused the transmission of wire communications in
interstate commerce. These communications included email, writings, signs,

signals, pictures and sounds for the purpose of executing the scheme. Specifically,
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on May 2, 2014, in order to further his fraud scheme, GARY TENAGLIA sent an
email from his office in the Eastern District of Michigan that traveled interstate, in
violation of Title 18, United States Code, Section 1343. That email included a false
invoice of a co-conspirator purporting to show that Envision had purchased NAAC
deicer when it had, in fact, not done so.

All in violation of Title 18, United States Code, Section 1349.

FORFEITURE ALLEGATION

Upon conviction for the conduct alleged in Count One of the Information, the
defendant shall, pursuant to Title 18, United States Code, Section 981(a)(1)(C)
forfeit to the United States, any property, real or personal, which constitutes the
proceeds obtained, directly or indirectly, as a result of the commission of the alleged
conduct.

Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act or omission of the defendant:
(a) Cannot be located upon the exercise of due diligence;
(b) Has been transferred or sold to, or deposited with, a third party;
(c) Has been placed beyond the jurisdiction of the Court;

(d) Has been substantially diminished in value; or
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(e) Has been commingled with other property that cannot be subdivided without
difficulty; it is the intent of the United States, pursuant to Title 21, United States
Code, Section 853(p), to seek to forfeit any other property of defendant up to the
value of the above-described property subject to forfeiture.

MATTHEW SCHNEIDER
United States Attorney

(RMA
R. MICHAEL BULLOTTA DAVID A. GARDEY

Assistant United States Attorney Assistant United States Attorney
Chief, Public Corruption Unit

 

 

Dated: April 16, 2018

 
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Eastern District of Michigan

 

 

 

NOTE: It is the responsibility of the Assistant U.S, Attorney signing this form to complete it accurately in ail respects.

 

 
     

.| Companion Case Number:

re hes far ‘metho * Jee gms
aa pal Pee iy PEP PSR poe

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
Lh yes No AUSA’s Initials:“Zan/

Case Title: USAv. D-1 GARY TENAGLIA

 

 

 

 

 

County where offense occurred: Wayne

Check One: X} Felony | |Misdemeanor (_lPetty
Indictment/_¥_Information —-- no prior complaint.
Indictment/ Information --- based upon prior complaint (Case number: J
Indictment/ Information --- based upon L¢rR 57.10 (d)} {Complete Superseding section below}.

Superseding Case Information

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Piease take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

April 16, 2018 FARM s—

Date R. MICHAEL BULLOTTA
Assistant United States Attorney

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Detroit, MI 48226-3277

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Attorney Bar #: 163401 (Californta)

1 Companion cases are matters in which it appears that (1) substantially simitar evidence wilt be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
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